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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

_______________________________________
                                           )
CLEVELAND BAKERS AND                       )
TEAMSTERS HEALTH & WELFARE                 )
FUND, individually and on behalf of others )
similarly situated,                        )
                                           )
               Plaintiff,                  )
                                           )                Civil Action No.
       v.                                  )                23-12575-FDS
                                           )
AMAG PHARMACEUTICALS, INC.;                )
COVIS GROUP S.À.R.L.; and                  )
COVIS PHARMA GMBH,                         )
                                           )
               Defendants.                 )
_______________________________________)


                              ORDER STAYING PROCEEDING
SAYLOR, C.J.

       For the reasons explained below, the litigation in this case will be stayed pending the

outcome of the appeal in Humana Inc. v. Biogen Inc., No. 24-1012, before the United States

Court of Appeals for the First Circuit.

       The question presented on appeal in Humana is whether indirect purchasers have

statutory standing to bring suit under the Racketeer Influenced and Corrupt Organizations Act

(“RICO”), 18 U.S.C. §§ 1961-68. That is a dispositive, threshold question for the RICO and

RICO conspiracy claims asserted by plaintiff in this case, an indirect purchaser seeking to

represent a class of other indirect purchasers.

       Plaintiff has requested that the stay apply only to the RICO and RICO conspiracy claims,

and that defendants’ motions to dismiss be decided as to its state-law claims. While it would be

possible to take a bifurcated approach, that would likely be inefficient under the circumstances
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presented here. The presence or absence of RICO claims in this suit, as well as the potential

reasoning of the Court of Appeals, could substantially affect a variety of issues present in this

case.

          For example, the presence or absence of federal-law claims in this case could affect the

basis for the court’s subject-matter jurisdiction. Should the plaintiff be unable to maintain a

RICO claim against the defendants, the court’s jurisdiction to decide the state-law claims will

depend either on the continued exercise of supplemental jurisdiction or on the exercise of

jurisdiction under the Class Action Fairness Act (“CAFA”). See 28 U.S.C. §§ 1332(d), 1367.

And the exercise of CAFA jurisdiction requires, at a minimum, that the class allegations meet the

statutory requirements.

          The presence or absence of RICO claims could also affect whether the Court has personal

jurisdiction over the Covis defendants. Among the other issues raised in the Covis defendants’

motion to dismiss for lack of personal jurisdiction is a dispute over whether the Court may

exercise jurisdiction under the RICO jurisdiction provision. See 18 U.S.C. § 1965(b). The

personal-jurisdiction issue may therefore turn on whether the RICO claims are viable.

          The decision in Humana could likewise affect the causation analysis, as the indirect

purchaser rule is closely linked to the issue of causation. At a minimum, the reasoning of the

Humana decision could affect how the Court analyzes that issue in both the federal and state

claims.

          Accordingly, under the circumstances, and for good cause shown, this matter is hereby

STAYED pending further order of the Court.




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So Ordered.

                                      /s/ F. Dennis Saylor IV
                                      F. Dennis Saylor IV
                                      Chief Judge, United States District Court

Dated: October 31, 2024




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